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                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,                             )
                                                      )
                               Plaintiff,             )
                                                      )
                v.                                    )       Case No. 21-10068-01-JWB
                                                      )
DUSTON KENNETH STROM,                                 )
                                                      )
                               Defendant.             )
                                                      )

   UNITED STATES’ MOTION FOR A PRELIMINARY ORDER OF FORFEITURE

       COMES NOW the United States by and through Duston J. Slinkard, United States

Attorney for the District of Kansas and Colin D. Wood, Special Assistant United States

Attorney, and moves the Court to enter a Preliminary Forfeiture Order forfeiting the personal

property identified in the Plea Agreement. In support of its motion, the United States shows the

Court as follows:

       1.       On June 30, 2022, defendant Duston Kenneth Strom pleaded guilty to Counts 1

and 2 of the Superseding Indictment, charging violations of 18 U.S.C. § 2251(a) and (e). (Doc.

60).

       2.       As part of the plea agreement, the defendant agreed to the forfeiture of the

following property:

                 A.    Samsung Galaxy S21 (IMEI 35616374129000) smartphone.

       3.       Based upon the statements set forth in the Plea Agreement, the United States has

established the requisite nexus between the property identified above and the offense to which

the defendant has pleaded guilty. Accordingly, the property listed in paragraph two is subject to

forfeiture to the United States pursuant to 18 U.S.C. § 2253(a).
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       4.       Upon the entry of the Preliminary Order of Forfeiture, the United States will

proceed to give notice to any third parties who may have an interest in the property and dispose

of the property according to law.

       Wherefore, for the reasons stated above, the United States respectfully requests that the

Court grant its motion and enter a Preliminary Order of Forfeiture.

                                              Respectfully Submitted,

                                              DUSTON J. SLINKARD
                                              United States Attorney

                                              /s/ Colin Wood
                                              COLIN D. WOOD, #19800
                                              Special Assistant United States Attorney
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                                   CERTIFICATE OF SERVICE

       I hereby certify that on August 17, 2022, the foregoing was electronically filed with the

Clerk of the Court by using the CM/ECF system which will send a notice of electronic filing to

counsel of record for defendant.

                                              /s/ Colin Wood
                                              COLIN D. WOOD #19800




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